)

Case 5:15-cv-00413-VAP-DTB Document 73 Filed 06/17/16 Page 1lof5 Page ID #984

Me-354

 

 

’ ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stale Bar.number, and address}: : , FOR COURT USE ONLY
|. Mark W. Eisenberg, Esq., SBN 160202
Eisenberg Law Firm, APC

P.O. Box 4187, Mission Viejo, California 92690

TELEPHONE NO.: {949) 250-8600 FAX NO. (Optional):
EMAIL ADDRESS (Optional): Mmwe@injuryresourcecenter.com
ATTORNEY FOR (ame): Plaintiffs, BIANCA PARKER. etc.. et al.
United States District Court
Central District of California
255 E. Temple Street
Los Angeles, California 90012-3332

BMANLT NAME:

 

 

CASE NAME:
PARKER, et al. v. COUNTY OF SAN BERNARDINO, et al.

ORDER APPROVING: CASE NUMBER:
[] COMPROMISE OF DISPUTED CLAIM 5:15-cv-0413-VAP (DTBx)
[¥] COMPROMISE OF PENDING ACTION
[_] DISPOSITION OF PROCEEDS OF JUDGMENT HEARING DATE, IF ANY: DEPT.

[J] Minor [—~] Person With a Disability 780

 

 

 

 

 

 

 

1. Petitioner (name); BIANCA PARKER , has petitioned for court approval of a
proposed compromise of a disputed claim of a minor ora pending action involving a minor or a person with a disability or a
proposed disposition of the proceeds of a judgment for a minor or a person with a disability.

2. Hearing .
a. [] No hearing was held. The petition is an expedited petition under rule 7,950.5 of the Califomia Rutes of Court.
b. [7] pate: Time: Dept.:

c. Judicial officer:

3. Relationship to claimant

Petitioner has the following relationship ar. relationships to claimant (check al! applicable boxes):

a. Parent
Guardian ad litem
Guardian
Conservator
Claimant, an adult person with a disability, is the petitioner.
. Other (specify):
4. Claimant (name): ew T: P.
a. is a minor.

b. [7] isa "person with a disability" within the meaning of Probate Code section 3603 who is:

(1) LJ An aautt. Claimant's date of birth is (specify):
(2) ["] without a conservator, Claimant has capacity to consent to this order, within the meaning of
Probate Code section 812, and has consented to this order.
(b) [-] A conservatee; a person for whom a conservator may be appointed; or without capacity to
consent to this order, within the meaning of Probate Code section 812.
(2) [4] Aminer described in Probate Code section 3603(b)(3).

5. Defendant .

The claim or action to be. compromised is asserted, or the judgment is entered, against (name of settling or judgment defendant or

defendants (the *payer"}): :

County of San Bernardino, SBSD, Sheriff, John McMahon and SBSD representatives, Kristy A,
Erwin, Kenneth Lutz, Richard, Rees, Jeffrey Dean, Victor Ruiz, Derrick Alatorre, Jonathan
Anderson, Mark Chavez, Harmony Pruett and Felix Arreola,

OOOO

Page 1 of 4

st conieenate” ORDER APPROVING COMPROMISE OF DISPUTED CLAIM OR PENDING “sits ht pecadue. $37

MC-351 (Rev. January 1, 2010] ACTION OR DISPOSITION OF PROCEEDS OF JUDGMENT FOR Ce! Ruesct Cour, rules 3.438 oe
_ MINOR OR PERSON WITH A DISABILITY

{Miscellaneous}

 

 

 

 

i

 

 

 
Case 5:15-cv-00413-VAP-DTB Document 73 Filed 06/17/16 Page 2of5 Page ID #985

MC-354

 

CASE NAME: CASE NUMBER:
r~ PARKER, et al. v. COUNTY OF SAN BERNARDINO, et al. 5:15-cv-0413-VAP (DTBx)

 

 

 

 

6. THE COURT FINDS that all notices required by Jaw have been given.

7. THE COURT ORDERS
a. The petition is granted and the proposed compromise of claim or action or the proposed disposition of the proceeds of the
judgment is approved. The gross amount or value of the settlement or judgment in favor of claimantis $ 112,000.00
pb. (-] unt further order of the court, jurisdiction is reserved to determine a claim fora reduction of a Medi-Cal fien under
Welfare and Institutions Code section 14124.78. The amount shown payable to the Department of Health Care Services
in item 7¢{1)(d) of this order is the full amount of the lien claimed by the department but is subject to reduction on further
order of the court upon determination of the claim for reduction. ,
c. The payer shall disburse the proceeds of the settlement or judgment approved by this order in the following manner:
(1) Payment of fees and expenses ,
Fees and expenses shall be paid by one or more checks or drafts, drawn payable to the order of the petitioner and the

petitioner's attorney, if any, or directly to third parties entitled to receive payment identified In this order for the follawing
items of expense or damage, which are hereby authorized to be paid out of the proceeds of the settlement or judgment:

(a) Attorney's fees in the total amount of $ 60,000.00 payable to (specify):
Eisenberg Law Firm, APC, P.O. Box 4187, Mission Viejo, CA 92618
(b) I Reimbursement for medical and all other expenses paid by the petitioner or the
petitioner's attorney in the total amount of: $ Co]
(c) [] Medical, hospital, ambulance, nursing, and other like expenses payable directly to

providers as follows, in the total amount of: $ LC—~s@Y

() Payee (name):
(A) Address:

(B) Amount: $
(i) Payee (name):
(A) Address:

{B) Amount: $
["] Continued on Aitachment 7c(i}(c). (Provide information about additional payees in the above format)
(@) [¥] Other authorized disbursements payable directly to third parties In the total amount of $ 51,603.34
(Describe and state the amount of each itern and provide the name and address of each payee);

Eisenberg Law Firm, APC, P.O. Box 4187, Mission Viejo, California 92690.

[1 Continued on Attachment 7c(1)(d),

{e) Total allowance for fees and expenses from the settlement or judgment: $

ME-351 [Rev. January 1, 2040} ORDER APPROVING COMPROMISE OF DISPUTED CLAIM OR PENDING Page 2 0f 4
ACTION OR DISPOSITION OF PROCEEDS OF JUDGMENT FOR
WINOR OR PERSON WITH A DISABILITY
(Miscellaneous)

 

 

 

 

 

 
Case 5:15-cv-00413-VAP-DTB Document 73 Filed 06/17/16 Page 3o0f5 Page ID #:986

 

 

 

 

MC-351
CASE NAME: ~ | GASE NUMBER: ,
r- PARKER v. COUNTY OF SAN BERNARDINO, et al. §:15-cv-0413-VAP (DTBx)
7. THE COURT ORDERS (cont)
c. The payer shall disburse the proceeds of the settlement or judgment approved by this order in the following manner:
(2) Balance
The balance of the settlement or judgment available for claimant after payment of all allowed
fees and expenses is: $ [238,000.00

The balance shall be disbursed as follows:

(a) [-_] By one or more checks or drafts in the total amount of (specify): $
drawn payable to the order of the petitioner as trustee for the claimant, Each such check or draft must bear an
endorsement on the face or reverse that it is for deposit in one or more interest-bearing, federally insured
accounts in the name of the petitioner as trustee for the claimant, and no withdrawals may be made from the
accounts except as provided in the Order to Deposit Money Into Blocked Account (form MC-355), which is

' signed contemporaneously with this order ("blocked account").

(b) By the following method(s) (describe each method, including the amount to be disbursed ):

Payment of $20,000.00 to Deltra Denise Paulk McCoy and Jerry Steering, Esq.;
Payment of $10,000.00 to Darrell Parker and Cameron Sehat, Esq.;

Payment of $10,000.00 to Eisenberg Law Firm, APC IOLTA (Trust Account);
Payment of $101,603.31 to Eisenberg Law Firm, APC;

Payment of $42,000.00 to Pacific Life (for non-minor plaintiffs’ structures); and
Payment of $32,396.69 to Bianca Parker, Dantazha Parker and Brittany Parker.

I Continued on Attachment 7¢(2)(b).

(c) [“_] If money is to be paid to a special needs trust under Probate Code section 3604, all statutory liens in faver
of the state Department of Health Care Services, the state Department of Mental Health, the state
Department of Developmental Services, and any city and county in California must first be satisfied by the
following method (specify):

[] Continued on Attachment 7c(2)(c).

8. [7] Further orders of the court concerning blocked accounts
The court makes the following additional orders concerning any part of the balance ordered fo be deposited in a blocked
account under item 7¢(2)(a):
a. Within 48 hours of receipt of a check or draft described in item 7c¢(2){a), the petitioner and the petitioner's attorney, if
any, must deposit the check or draft in the petitioner's name as trustee for the claimant in one or more blocked accounts
at (specify name, branch, and address of each depository, and the amount of each account):

[7] Continued on Attachment 8a.

Me-361 (Rev. January 1.2010, ORDER APPROVING COMPROMISE OF DISPUTED CLAIM OR PENDING Page Sof 4
ACTION OR DISPOSITION OF PROCEEDS OF JUDGMENT FOR
MINOR OR PERSON WITH A DISABILITY
(Miscellaneous)

 

 
Case 5:15-cv-00413-VAP-DTB Document 73 Filed 06/17/16 Page 4of5 Page ID #:987

 

 

 

 

8.

MC-351
CASE NAME: CASE NUMBER:
-~ PARKER, et al. v. COUNTY OF SAN BERNARDINO, et al. 5:15-cv-0413-VAP (DTBx)
Further orders of the court conceming blocked accounts

The court makes the following additional orders concerning any part of the balance ordered to be deposifed in a blocked

account under item 7c(2){a): :

b. The petitioner and the petitioner's attorney, if any, must deliver to each depositery at the time of deposit three copies of
the Order to Deposit Money into Blocked Account (form MC-355), which is signed contemporaneously with this order,
and three copies of the Receipt and Acknowledgment of Order for the Deposit of Money into Blocked Account (form
MC-256). The petitioner or the petitioner's attomey must file a copy of the receipt with this court within 15 days of the
deposit. The sole responsibilities of the petitioner and the petitioner's attomey, if any, are to place the balance ina
blocked account or accaunts and to timely file a copy of the receipt,

c. The balance of the proceeds of the settlement or judgment deposited in 4 blocked account or accounts under item

7c{2)(a) may be withdrawn only as follows (check (1) or (2):

(1} [_] No withdrawals of Principal or interest may be made from the blocked account or accounts without a further
written order under this case name and number, signed by a judge, and bearing the seal of this court. The
money on deposit is not subject to escheat.

(2) [4] The blocked account or accounts belong fo a minor. The minor was bom on (date): é
No withdrawals of principal or interest may be made from the blocked account or accounts without a further
written order under this case name and number, signed by a judicial officer, and bearing the seal of this
court, until the minor attains the age of 18 years. When the minor attains the age of 18 years, the depository,
without further order of this court, is authorized and directed to pay by check or draft directly to the former
minor, upon proper demand, all moneys including interest deposited under this order. The money on deposit
is not subject to escheat.

Authorization to execute settlement documents

The petitioner is authorized to execute settlement decuments as follows (check only one):

a [J Upon receipt of the full amount of the settlement sum approved by this order and the deposit of funds, ihe
petitioner is authorized and directed to execute and deliver to the payer a full, complete, and final release and
discharge of any and all claims and demands of the claimant by reason of the accident or incident described in
the petition and the resultant injuries to the claimant and a properly executed dismissal with prejudice.

b. Lv] The petitioner is authorized and directed to execute any and all documents reasonably necessary to carry out
the terms of the settlement.

c. [_] The petitioner is authorized and directed (specify):

[] Continued on Attachment 9c.

10. Bondis [_] ordered and fixed in the amount of $ ([7] not required.
11. A copy of this order shail be served on the payer forthwith.

12.07]

Additional orders
‘The court makes the following additional orders (specify):

f

, 2016 r*

Continued on Attachment 12. | i ce ( \ * \\
Date: June | MAW Wh Uti wey

| JUDICIAL OFFICER
[-—]  stenature roLiows LAST ATTACHMENT

MC-351 (Rev. Jarry 1, 2040 ORDER APPROVING COMPROMISE OF DISPUTED CLAIM OR PENDING Page 4 of 4

ACTION OR DISPOSITION OF PROCEEDS OF JUDGMENT FOR
MINOR OR PERSON WITH A DISABILITY
(Miscellaneous)

 

 
.Case 5:15-cv-00413-VAP-DTB Document 73 Filed 06/17/16 Page5of5 Page ID #988

THE SEFTLEMENT
ALLIANCE Attachment 7c(2)(b)

WEST

FORMERLY KAVAS coNnsuLTING

 

May 3, 2016

VIA EMAIL

Mark Eisenberg, Esq.

Eisenberg Law Firm
mwe@injuryresourcecenter.com

RE: WPXDOB: GHEREE00) .
Dear Mr. Eisenberg:

This is to confirm that the above-referenced matter has been settled in part with a
structured settlement. The terms are as follows:

Payable ¢

$3,000.00 paid on 06/30/2018 (age 18), quaranteed.
$4,500.00 paid on 06/30/2021 (age 21), guaranteed.
$5,535.67 paid on 06/30/2023 {age 23), guaranteed.

The future periodic payments will be funded by the purchase of an annuity from Pacific
Life Insurance Company; an A.M. Best rated A+XV carrier.

The total cost of the annuity is $12,000.00 with a guaranteed payout of $13,035.67.

Enclosed please find the A.M. Best Ratings and sample annuity policy for Pacific Life
Insurance Company for your use in obtaining court approval. We will need a copy of
the Order Approving Minor's Compromise as soon as it is obtained. Please note, the
periodic payment schedule and the name of the life insurance company and its
rating, should be stated in the Order or this fetter may be attached as an Exhibit.
Please send us a copy of the draft Order for review to ensure that the language
regarding the structured settlements meets the tax code requirements.

lf | may further assist you in this matter, or if you have any questions, please feel free to
call me.

Sincerely,
Mandy Hadley, CP
Case Manager for Traci Kaas, CSSC

www.alliance-west.com Attachment to Petition 19(b)3
Corporate Headquarters

 

 
